              UNITED STATES DISTRICT COURT
        FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                     Case No. 20-cv-954

FARHAD AZIMA,                              PLAINTIFF FARHAD AZIMA’S
                                                 OPPOSITION TO
       Plaintiff,                           DEFENDANTS’ MOTION TO
                                                 QUASH AND FOR
       v.                                      PROTECTIVE ORDER
                                            REGARDING PLAINTIFF’S
NICHOLAS DEL ROSSO and VITAL                 SECOND SUBPOENA TO
MANAGEMENT SERVICES, INC.,                   FIRST CITIZENS BANK &
                                                   TRUST CO.
       Defendants.



      Plaintiff Farhad Azima (“Azima”) submits this brief in opposition to the

motion of Defendants Nicholas Del Rosso and Vital Management Services, Inc.

(“Defendants”) to quash the subpoena issued to First Citizens Bank & Trust

Co. (“First Citizens”) and for a protective order. See ECF Nos. 196 (the “Motion”

or “Mot.”) and 197 (the “Memo”).

                              INTRODUCTION

      Defendants’ Motion is the latest in a long series of motions designed to

prevent Azima from conducting meaningful discovery. Years after this

litigation began and months after Plaintiff served Defendants with discovery

requests, Defendants have produced only documents that were stolen from

Azima and have refused to produce a single custodial document or

communication. Defendants’ intransigence is especially concerning because


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Mr. Del Rosso admitted at his deposition that he possesses relevant and

discoverable documents that he has not produced, including, for example,

numerous reports that Northern Technologies Inc., a company retained by

Defendants, prepared about Plaintiff Azima’s stolen data. See Ex. 1, Depo. Tr.

at 282:4-283:17. Furthermore, this Court has already admonished Defendants

about filing frivolous motions intended to delay this case. See ECF No. 79 at

12 (reminding the parties that Rule 11 bars filings for the purpose of

unnecessary delay and noting that the “propriety” of Defendant’s motion for

reconsideration was “questionable”). The Court should not placate Defendants’

efforts to further delay and obstruct discovery.

      Moreover, Defendants have no basis for seeking to quash the subpoena.

First, Plaintiff’s March 23, 2023, subpoena to First Citizens (the “March

Subpoena”) is a new subpoena to a third-party bank seeking financial records

relevant to Plaintiff’s claims. It is not, as Defendants disingenuously argue,

duplicative of an earlier subpoena to First Citizens served in January 2023

(together with a subpoena to First National Bank, the “January Subpoenas”)

and does not violate the Court’s order narrowly staying production of

documents requested under the January Subpoenas for bank records from

Defendants’ prior law firm and Defendant Del Rosso’s’ wife’s real estate

company. Defendants never previously argued that the January Subpoenas



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should be quashed on the basis that they sought Defendants’ own bank records.

In fact, Defendants misled Plaintiff and the Court into believing that

Defendants did not have accounts at First Citizens when Defendants

submitted interrogatory responses in January 2023 representing that

Defendants only used an account at PNC and no other bank related to its work

regarding Plaintiff. Ex. 2, Defendants’ Jan. 26, 2023 Resp. to Pl.’ Interrog. 3.

        Second, Defendants lack standing to challenge the subpoena to First

Citizens, a third party, because the requested documents are property of First

Citizens (not Defendants).

        Third, Plaintiff’s March Subpoena—like all other discovery Plaintiff

seeks     in   this   case—seeks   relevant    and   discoverable    documents,

communications, and information. In particular, Defendant Del Rosso revealed

in his February 2023 deposition that, after PNC closed his account around

September 2021, he moved his accounts to First Citizens. This was the first

time that Plaintiff had any indication that Defendants held accounts at First

Citizens because Defendants had improperly failed to identify the accounts in

response to Plaintiff’s interrogatories only one month prior. Id. Plaintiff

subpoenaed First Citizens in March seeking documents and communications

that relate to Defendants’ bank accounts held there and that thus directly




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relate to the claims and defenses raised in this case. In light of the above, the

Court should deny Defendants’ motion to quash the March Subpoena.

                               BACKGROUND

      Plaintiff filed his Complaint more than two years ago – on October 15,

2020. ECF No. 1. Since then, Defendants have repeatedly filed motions in an

effort to delay discovery in this matter, including two motions to dismiss and a

motion requesting reconsideration of the denial of the motion to dismiss, after

which the Court reminded the parties that filing motions for the purpose of

delay was sanctionable. ECF No. 79 at 12.

      In January 2023, Defendants’ bank records from PNC revealed that

Defendants earned $35 million from Ras Al Khaimah and related entities and

subsequently paid Shanahan Law Group (“Shanahan”) $6.2 million through

an account at First National Bank and paid GH Holding LLC (“GH Holding”)

$2.35 million through an account at First Citizens, all in the period relevant to

this litigation. Given the substantial sums of money and unusual payment

patterns, Plaintiff sought the bank records for Shanahan and GH Holding to

follow the money. The subpoenas included requests for documents and

communications related to Defendants’ accounts to ensure that they

encompassed the transfers from Defendants to Shanahan and GH Holding.

But the subpoena clearly targeted the records of Shanahan and GH Holding,



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and indeed the subpoena specifically references the transfers from Defendants’

PNC accounts to Shanahan and GH Holding.

      At the time of the January Subpoenas, Plaintiff did not know that

Defendants had accounts at First Citizens because, in response to an

interrogatory requiring Defendants to identify all accounts owned, controlled,

or utilized by Defendants, Defendants had (falsely or misleadingly) stated that

“VMS’s bank account with PNC Bank is the only bank account used by

Defendants . . . .” Ex. 2. All of the parties understood the January Subpoenas

to relate to the records of Shanahan and GH Holding.

      On January 20, 2023, Defendants, following their pattern of obstruction

and delay, filed an emergency motion to quash the subpoena despite no legal

standing to do so. Defendants’ motion did not argue that the subpoena sought

their own records. Instead, they wrote: “The [Subpoenas] specifically target the

bank records of Mr. Del Rosso’s wife and his counsel,” and “Plaintiff cannot

substantiate any basis for his need of the banking records of the non-parties

targeted by the Subpoena’s—i.e., Mrs. Del Rosso, GH Holdings, Mr. Shanahan,

or SLG.” ECF No. 123 at 5, 13. Similarly, Plaintiff’s response focused on the

targets of the subpoenas, as Defendants put it. Based on that briefing, on

January 23, 2023, the Court entered a Text Order staying the production of

documents requested in the January Subpoenas. See Minute Entry of January



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23, 2023. The Court did not extend the stay to other subpoenas outside the

scope of Defendants’ motion to quash. The Court has not yet ruled on the

underlying motion.

      On February 13 and 14, Plaintiff deposed Defendant Del Rosso and

learned for the first time that after PNC closed Defendants’ accounts – for

reasons Del Rosso did not provide, but perhaps related to the substantial

transfers of funds through Defendants’ accounts – Defendants moved their

accounts to First Citizens. Defendants never mentioned these accounts at First

Citizens in their previous briefing to the Court. On March 23, 2023, Plaintiff

served a new subpoena on First Citizens seeking a narrow set of bank records

for Defendants Del Rosso and Vital Management Services – from 2021 to

present – for the accounts at First Citizens that Defendants first revealed at

his deposition.

      Defendants subsequently filed this Motion seeking a stay of the March

Subpoena for Defendants’ bank records.

                               ARGUMENT

      The Court has only stayed production of documents regarding the

January Subpoenas to First Citizens and First National, for records that

everyone understood – and Defendants argued to the Court – were targeted

not at them but at their law firm and Defendant Del Rosso’s wife’s real estate



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company. Defendants’ argument in this Motion that the Court’s order staying

production of those subpoenas related at all to Defendants’ bank records is, at

best, disingenuous. Defendants never argued to the Court that the January

Subpoenas called for their own records, perhaps because they did not want to

reveal that they had additional accounts that they had not disclosed in

response to straight-forward interrogatories asking for the accounts used.

      Defendants bear the burden to show why Azima’s newly-issued subpoena

to First Citizens should be modified or quashed. See Mainstreet Collection, Inc.

v. Kirkland’s, Inc., 270 F.R.D. 238, 241 (E.D.N.C. 2010) (The party seeking the

court’s protection bears the burden of demonstrating why the subpoena should

be modified or quashed.). Defendants failed to meet their burden for several

reasons.

       I.   The March 2023 Subpoena is Not Duplicative of the First
            Subpoena, and the Court’s Stay Order Does Not Excuse
            Compliance with this Subpoena.

      The January Subpoenas sought specific records related to accounts held

by GH Holdings and Shanahan. The subpoena calls for documents and

communications related to Defendants simply to ensure that all of the records

of the more than $8.5 million that Defendants paid Shanahan and GH

Holdings during the relevant period were covered by the subpoena. The




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January Subpoenas make this clear by specifically describing the transfers

made from Defendants to Shanahan and GH Holdings.

      The March 2023 subpoena, on the other hand, seeks documents from

2021 to present and targets accounts held by Defendants (Nicholas Del Rosso

and Vital Management Services, Inc.), not related to Shanahan or GH

Holdings. Defendants’ accounts at First Citizens were not known to Plaintiff

at the time of the January Subpoenas because Defendants misled Plaintiff by

failing to disclose the accounts in response to interrogatories requiring them to

identify all bank accounts.

      The Court narrowly stayed production only related to the January

Subpoenas seeking records from Defendants’ law firm and Del Rosso’s wife’s

company. The March 2023 subpoena seeks only Defendants’ records since they

moved their accounts from PNC to First Citizens. For all these reasons, the

March 2023 subpoena is not duplicative of the January Subpoenas and does

not violate the Court’s earlier stay.

      II.   Defendants Lack Standing to Challenge the March 2023
            Subpoena.

      “Ordinarily, a party does not have standing to challenge a subpoena

issued to a nonparty unless the party claims some personal right or privilege

in the information sought by the subpoena.” United States v. Idema, 118 F.

App’x 740, 744 (4th Cir. 2005) (per curiam); see also Bryson v. CompuCom Sys.,


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Inc., No. 19CV1121, 2021 WL 7184369, at *5 (M.D.N.C. Feb. 10, 2021) (“As a

general proposition, a party lacks standing to challenge a third-party subpoena

unless the party claims a personal right or privilege with respect to the

documents requested in the subpoena.”). And “[t]ypically, a party has no

standing to challenge a subpoena issued to his or her bank seeking discovery

of financial records because bank records are the business records of the bank,

in which the party has no personal right.” United States v. Gordon, 247 F.R.D.

509, 510 (E.D.N.C. 2007); see also Chaudhry v. Gallerizzo, 174 F.3d 394, 402

(4th Cir. 1999) (“Typically, the attorney-client privilege does not extend to

billing records and expense reports.”); United States v. Goldberger & Dubin,

P.C., 935 F.2d 501, 505 (2d Cir. 1991) (production of law firm IRS form that

showing “clients who make substantial cash fee payments is not a disclosure

of privileged information”); Selevan v. SEC, 482 F. Supp. 3d 90, 93–94

(S.D.N.Y. 2020) (collecting cases) (subpoenaed individual’s “attempt to cast the

records of his bank account as privileged is, in fact, frivolous”).

      Here, Defendants seek to quash a subpoena for documents held by a

bank – First Citizens – without offering any viable claim that the documents

are subject to any personal right or privilege. Defendants make a vague

attempt in a footnote to claim they “have standing to challenge third-party

subpoenas under Rule 26 as irrelevant and overbroad regardless of whether



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standing is proper under Rule 45.” ECF No. 197 at 6, n. 4. The cases that they

cite do not support their broad argument, though. In Nallapaty v. Nallapati,

No. 20-CV-470, 2022 WL 1508885, *4 (E.D.N.C. May 12, 2022), the Court found

limited standing to challenge a third-party subpoena to legal counsel based on

arguments of privilege and work product. In Kappel v. Garris, No. 19-CV-498,

2020 WL 707123, *2 (D.S.C. Feb. 12, 2020) (cleaned up), the Court recognized

that “a party has no standing to challenge a subpoena issued to his or her bank

seeking discovery of financial records because bank records are the business

records of the bank, in which the party has no personal right” before concluding

that the party had standing to seek financial records from third-party

accountants. In Brown v. Mountainview Cutters, LLC, No. 15-CV-00204, 2016

WL 3045349, *2 (W.D. Va. May 27, 2016), the Court found limited standing to

challenge a third-party subpoena seeking employment records from a party’s

former employers. To the extent these cases even apply here, they demonstrate

that Defendants have no standing to challenge the March Subpoena for bank

records from First Citizens.

     III.   The March 2023 Subpoena is Proportional and Seeks
            Relevant and Discoverable Documents from First Citizens.

      The March 2023 subpoena seeks relevant and discoverable documents

related to Defendants’ bank accounts with First Citizens. Plaintiff alleged a

conspiracy between Defendants and other alleged co-conspirators to hack,


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steal, and publish Plaintiff’s private information and trade secrets. Records

from Defendants’ bank accounts (which Plaintiff submits will prove that

Defendants paid numerous co-conspirators to further the aims of the

conspiracy) are clearly relevant to the claims and defenses in this case. See

Fed. R. Civ. P. 26(b)(1) (“Parties may obtain discovery regarding any

nonprivileged matter that is relevant to any party’s claim or defense….”). The

Court has already recognized the relevance of Defendants’ bank records in

allowing Plaintiff to issue a subpoena to another bank where Defendants hold

accounts, Bank of America. See ECF No. 54 (holding that Defendants bank

records dating back to 2014 “may have some bearing on Plaintiff’s civil

conspiracy claim.”). And the documents produced by PNC have substantiated

much of Plaintiff’s Complaint, showing that Ras Al Khaimah paid $35 million

to Vital, which is a one-man company, and that Vital paid millions of dollars

to hackers, including CyberRoot. It is clear that Defendants are seeking to

block the March 2023 Subpoena for their bank records to prevent more critical

evidence from being revealed.

     The subpoena is also narrowly tailored and only seeks a limited number

of specific documents – not entire banking files. The subpoena facially seeks

documents from Defendants’ own bank records during a two-year period that

are directly related to the claims and defenses in this case. Indeed, the one



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third-party subpoena that Defendants have served sought documents from

2017 to present day, admitting that such timeframe is relevant to this matter.1

                                      CONCLUSION

       For all the foregoing reasons, Plaintiff respectfully requests that the

Court deny Defendants’ motion to quash the subpoena to First Citizens.

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       1 Defendants’ purported concern that the records might disclose “a whole host of
confidential business information,” see ECF No. 197 at 11, is addressed by the confidentiality
protective order in this case and is not valid reason to stop the production of relevant records.



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              IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                        CASE NO. 20-CV-954


FARHAD AZIMA,

      Plaintiff,

      v.
                                            CERTIFICATE OF SERVICE
NICHOLAS DEL ROSSO and
VITAL MANAGEMENT
SERVICES, INC.,

      Defendants.




      I hereby certify that I electronically filed the foregoing with the Clerk of
Court using the CM/ECF system, which will send electronic notification of this
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 This, the 17th day of April, 2023.

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